
In re Yaney, Checo; — Defendant(s); applying for supervisory and/or remedial writs; Parish of Orleans, Criminal District Court, Div. “J”. No. 338-086.
Writ granted. Relator’s sentence is amended to delete only that portion denying him eligibility for parole on his simple rape conviction. At the time of relator’s crime, simple rape carried no parole ineligibility. See La.R.S. 14:43, 1975 La.Acts No. 612; cf. La.R.S. 14:43(C), 1995 La.Acts No. 946; See also, La.C.Cr.P. art. 882 A (appellate court may correct an illegal sentence at any time). In all other respects, the application is denied.
VICTORY, J., not on panel.
